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                    EXHIBIT A
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 STATE OF SOUTH CAROLINA                           IN THE COURT OF COMMON PLEAS
 COUNTY OF CHARLESTON                              NINTH JUDICIAL CIRCUIT

 Adrian Grant,                                     Case No.:       2021-CP-10-_________

                       Plaintiff,

                       v.
                                                                   COMPLAINT
 Ralph Lauren Retail, Inc.; Ralph Lauren                       (Jury Trial Requested)
 Corporation; and Susan Smith,

                       Defendants.



       COMES NOW the Plaintiff, complaining of the Defendant(s), alleging as follows:

                               PARTIES AND JURISDICTION

       1.      The Plaintiff is an African-American citizen and resident of Charleston County,

South Carolina, and complains in this action of injuries and damages he sustained as a result of

being intentionally, unlawfully, and outrageously victimized by Ralph Lauren’s shameful racial

profiling practices, perpetrated entirely within Charleston County, South Carolina.

       2.      Defendant Susan Smith, at all relevant times a store manager for the Polo Ralph

Lauren Big & Tall store, is a citizen and resident of Charleston County, South Carolina, and was

the employee who carried out the wrongful conduct complained of herein.

       3.      Defendants Ralph Lauren Retail, Inc. and Ralph Lauren Corporation (together,

“Polo Ralph Lauren”) are foreign corporations who, individually and collectively, owned,

operated, managed, maintained, staffed, and had sole responsibility for all operations and decision

making for the two Polo Ralph Lauren stores at the Tanger Outlets shopping plaza in North

Charleston, South Carolina.

       4.      The Court has subject matter and personal jurisdiction, and venue is proper.
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                                 GENERAL ALLEGATIONS

       5.      On July 1st, 2020, Polo Ralph Lauren, through its manager, Smith—for whose

wrongful conduct Polo Ralph Lauren is responsible under respondeat superior—subjected its

loyal and long-time customer Adrian Grant to blatant racial profiling, in a practice which Polo

Ralph Lauren’s management subsequently characterized as Polo Ralph Lauren’s standard

operating procedure. Its July 1st behavior constituted extreme and outrageous conduct, which

intentionally, recklessly, and foreseeably caused Grant to suffer severe emotional distress.

       6.      Before filing this lawsuit, Adrian Grant made every effort to work with Polo Ralph

Lauren, simply to gain understanding of what had happened, why it had happened, and whether

there might be some sliver of a viable explanation. Rather than being candid and transparent in

response, Polo Ralph Lauren led Grant along, blew him off, claimed it was “investigating” and

assured Grant that it would share the results of the investigation. None of that ever happened. Polo

Ralph Lauren eventually simply ignored Grant’s communications, forcing Grant to the Courts in

order to gain some clarity on this incident of obvious racial animus.

       7.      Before shutting off all communications, Polo Ralph Lauren told Grant that what he

perceived to be racial profiling was “standard policy” for the company, an assertion which does

not hold water: Grant had been a regular customer of the store and had never been subjected to

racial profiling before. Nevertheless, giving Polo Ralph Lauren the benefit of the doubt, Grant

asked Polo Ralph Lauren to share the portion of its policies, procedures, employee manuals, or

other materials in which this “standard policy” was memorialized. Polo Ralph Lauren ignored

Grant’s reasonable request repeatedly.

       8.      The timing and circumstances of Polo Ralph Lauren’s racial profiling magnified

the outrageousness of its conduct, and the trauma and harm suffered by Mr. Grant. Just five weeks



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earlier, George Floyd was killed by Minneapolis police, sparking extraordinary, nationwide

protests for racial justice—including in Charleston, South Carolina—which were ongoing

throughout the summer of 2020. The protests expanded—in size, in geographic spread, in media

coverage, and in the consciousness of the American and South Carolina public—as a result of

other killings in 2020: protests arising from the Breonna Taylor killing ran from May 26th into

August, 2020; those from the killing of Ahmaud Arbery began in May 2020; protests, triggered

when Rayshard Brooks was killed in Atlanta on June 12th, were ongoing at the time of the incident

that is the subject of this lawsuit. With the ongoing hardships and mistreatment of African

Americans, so often at the hands of white Americans, at the forefront of their minds, Smith and

Polo Ralph Lauren’s perpetration of blatant racial profiling exceeded all possible bounds of

decency and must be regarded as atrocious utterly intolerable in a civilized community.

       9.      With that backdrop, on July 1st, 2020 Adrian Grant—his heart heavy from the racial

injustices that then headlined every newspaper, magazine, news website, and television news

broadcast; and from his beloved mother’s tragic death on June 4th, 2020—made numerous

purchases at the Polo Ralph Lauren store at Tanger outlets. Carrying the bag of garments he had

just purchased, Grant then walked to the affiliated Polo Ralph Lauren Big & Tall store to make

additional purchases. Entering the store, Grant entrusted his bag of purchases to the store manager,

Smith, for safekeeping behind the sales desk while he shopped. Smith, motivated solely by

appalling racial prejudice, waited until Grant walked away from the sales desk, and surreptitiously

rifled through Grant’s bag, checking each of the various items against the receipt, conducting a

racially motivated, completely unprovoked, utterly shocking shoplifting investigation of a loyal,

paying customer.




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       10.      When Grant became aware of what had happened, he experienced immediate and

intense feelings of victimization, of personal violation, and of having been the target of obvious

racism. Already depressed and discouraged and emotionally distraught from his mother’s death by

Covid-19, and from the historic racial unrest locally and nationwide, the wrongful conduct of Polo

Ralph Lauren hit him like an emotional ton of bricks, and the severe distress he has experienced

has not abated since.

             FOR A FIRST CAUSE OF ACTION AGAINST ALL DEFENDANTS
                (Intentional Infliction of Emotional Distress/Tort of Outrage)

       11.      The Plaintiff realleges each prior paragraph of this Complaint as fully as if set forth

herein verbatim.

       12.      As set forth above, the Defendants intentionally and recklessly inflicted severe

emotional distress, which was foreseeably and substantially certain to result from their extreme

and outrageous conduct, which exceeded all possible bounds of decency, and which must be

regarded as atrocious and intolerable in a civilized society. Grant’s emotional distress was

proximately caused by the Defendants’ behavior, and was so severe that no reasonable person

could be expected to endure it.

       13.      Accordingly, the Plaintiff is entitled to a judgment against the Defendants for all

recoverable actual, special, general and punitive damages that the jury deems appropriate.

         FOR A SECOND CAUSE OF ACTION AGAINST ALL DEFENDANTS
                           (Trespass to Chattels)

       14.      The Plaintiff realleges each prior paragraph of this Complaint as fully as if set forth

herein verbatim.




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        15.     As set forth above, the Defendants perpetrated an unauthorized, unjustified,

unwanted, and harmful interference with and handling of the Plaintiff’s personal property, which

proximately caused the property in question to lose value: intrinsic, personal, and monetary.

        16.     Accordingly, the Plaintiff is entitled to judgment in the amount of his actual

damages, along with punitive damages should the jury deem them appropriate under the

circumstances of this case.

        WHEREFORE, the Plaintiff prays for judgment against the Defendants in an amount of

actual damages, and punitive damages if the facts of the case warrant and if the jury deems them

appropriate, to be determined at trial, and such other and further relief as the Court shall permit.

The Plaintiff requests trial by jury.




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 Charleston, South Carolina




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